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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA

  FRANCIS CALLIER; DAMON ODOM;                         )
  and DEMONICA FAVORS, Individually                    )
  and on behalf of all others similarly situated       )
  who have opted to participate in this action         )
                                                       )   CASE NO.: 21-cv-521 JB-N
                 Plaintiffs,                           )
                                                       )
         v.                                            )
                                                       )
                                                       )
  OUTOKUMPU STAINLESS USA, LLC                         )
                                                       )
                  Defendant.                           )
                                                       )
  ________________________________

                     UNOPPOSED NOTICE OF FILING ADDITIONAL
                              NOTICE OF CONSENT


 Filed herewith is a Notice of Consent to Become a Party Plaintiff of the following:
    1. Kelly Dixon, the Guardian / Conservator of Max Reeves.
 Defendant has been consulted and does not object to the inclusion of this individual in this
 action.


                                              Respectfully Submitted,
                                              HOLSTON, VAUGHAN & ROSENTHAL,
                                              LLC.

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                                 CERTIFICATE OF SERVICE
         I hereby certify that I have on this the 3rd day of October, 2022, electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of
 such filing to the following:

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